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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


                                    )
In re Pharmaceutical Industry       )
Average Wholesale Price             )
Litigation                          )   MDL No. 1456
                                    )   Master File No. 01-12257-PBS
This document relates to:           )
UNITED STATES OF AMERICA            )
ex rel. VEN-A-CARE OF THE           )
FLORIDA KEYS, INC.                  )
                                    )
          Plaintiff,                )
                                    )
     v.                             )
                                    )
ABBOTT LABORATORIES, INC.           )
                                    )
          Defendant.                )
                                    )
CIVIL ACTION NO. 06-11337-PBS       )
                                    )
                                    )

                    ORDER RE: SUBMITTED DOCUMENTS
                         FOR IN CAMERA REVIEW

                            November 5, 2008

Saris, U.S.D.J.

     In this qui tam action under the False Claims Act, 31 U.S.C.

§§ 3729 et seq. and state law,1 the government has submitted

twelve documents for in camera review which it contends are

protected by the deliberative process privilege.          During

discovery, the government produced 350,000 pages of documents;

its privilege logs listed 451 documents (originally 600

documents).   Defendant Abbott Laboratories, Inc. (Abbott) moved


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       The government also brings claims of fraud and unjust
enrichment.
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to compel and the Court issued a margin order on August 13, 2007

to which both parties objected.       On appeal, the Court denied the

motion to compel production or review all of the documents.

However, it ordered Magistrate Judge Bowler to conduct an in

camera review of certain documents, which she did.          Not content,

Abbott pressed for interlocutory review.        The dispute has

prompted extensive briefing.

     After hearing, the Court ordered the government to produce

all non-privileged documents which the government withheld from

production based on the deliberative process privilege which

relate to “cross-subsidization” or “mega-spreads” for infusion

and inhalation drugs.     Abbott vigorously contends that it is

entitled to review all documents relevant to the government’s

knowledge that the Average Wholesale Price (“AWP”) listed by drug

companies in publications relied on by the government to

reimburse for infusion and inhalation drugs was not a true price,

and that there was a “spread” between the price actually paid by

providers and the price reported to the government.

     The government parries sharply that government knowledge is

not a defense to a False Claims Act charge and therefore

defendant has no need for the privileged documents.          Moreover, it

points out that spreads for Abbott multi-source drugs at issue in

this litigation range from 275% to 1784% with the majority of the

spreads exceeding 1000%.     Thus even if the government knew of

smaller spreads of 25 percent, and permitted these spreads to

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cross-subsidize the cost of drug administration, in the

government’s view, this knowledge is irrelevant to its core

contention of fraudulent mega-spreads.

     The Court has read each of the documents submitted by the

government in camera, and orders that some documents be produced

for the reasons stated below.

                       I.   FACTUAL BACKGROUND

     The government’s complaint against Abbott alleges that

Abbott engaged in a fraudulent scheme that caused the Medicare

and Medicaid programs to pay excessive reimbursement to Abbott’s

customers, medical providers such as pharmacies, physicians,

hospitals, and clinics.     In order to perpetrate this scheme of

fraud, Abbott allegedly reported false or misleading pricing

information - generally in the form of AWPs - about its products

to several price reporting services.        In order to compile their

pricing compendia, publishers receive drug pricing information

from the manufacturers of the various drugs, such as Abbott, and

then base their published pricing data on this information.            The

government, in turn, utilizes these reporting publications to

determine its reimbursement prices.       Because the drug

manufacturers control the prices that are reported by the

compendia, they can effectively fix the AWP of their own drugs.

     In general, this pricing scheme allows drug manufacturers to

set reimbursement prices to levels well above the providers’



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acquisition costs.    The difference between the reported AWP of a

prescription drug and the drug’s actual acquisition cost is

referred to as the drug’s “spread.”       By inflating the prices

provided to the compendia, and thus pumping up the AWP of the

drug, pharmaceutical manufacturers increase a drug’s spread.

Plaintiff alleges that this increase in spread consequently

magnifies a drug’s profitability to the financial benefit of the

providers, like pharmacies.      The complaint alleges that Abbott

marketed these inflated spreads to its customers.

     The effect that increasing a drug’s reported AWP has on the

price paid by the federal government depends on whether the drug

is a single-source drug or a multi-source drug.          For single-

source drugs, the government’s reimbursement rates for Medicare

were set by statute at 95% of AWP from 1998 until 2003; before

1998, rates were set at 100% of AWP or estimated acquisition

cost.   42 U.S.C. § 1395u(o); 42 C.F.R. § 405.517 (1998) (amended

1998, 2004); 42 C.F.R. § 405.517 (1999) (amended 2004); 42 C.F.R.

§ 405.517 (2003) (amended 2004).        For multi-source drugs, like

the ones at issue here, the government set its reimbursement

figures from 1998 to 2003 at 95% of the lesser of the median of

all generic AWPs or the lowest branded AWP for a given drug;

before 1998, multi-source drugs were reimbursed at 100% of the

median generic AWP or estimated acquisition cost.          42 U.S.C. §

1395u(o); 42 C.F.R. § 405.517 (1998) (amended 1998, 2004); 42



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C.F.R. § 405.517 (1999) (amended 2004); 42 C.F.R. § 405.517

(2003) (amended 2004); see also In re Pharm. Indus. Average

Wholesale Price Litig., 230 F.R.D. 61, 70 (D. Mass. 2005).

     Specifically, the complaint alleges that in 2001, Abbott

sold several drugs with grossly inflated AWPs: Vancomycin (an

antibiotic), a 5% Dextrose Solution, and a 0.9% Sodium Chloride

Solution.    For Vancomycin, the AWP reported by Abbott was

$274.91.    However, the actual acquisition cost of the drug was

$67.95.    Therefore, the “spread” was 304.57%.       The Dextrose

Solution and the Sodium Chloride Solution had even more inflated

spreads; the Dextrose Solution was marked up by 917.22%, and the

Sodium Chloride Solution had a spread of 1046.92%.          The complaint

alleges that Abbott reported these false inflated prices to the

compendia, knowing that the government would use this information

to set its reimbursement rates.       As a result, the government

charges that it overpaid for Abbott’s drugs.

                            II.   DISCUSSION

     1.     Deliberative Process Privilege

     As a threshold matter, the Court must determine whether the

deliberative process privilege is applicable to the documents for

which the Government is asserting the privilege.          The

deliberative process privilege covers “documents reflecting

advisory opinions, recommendations and deliberations comprising

part of a process by which governmental decisions and policies



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are formulated.”    Dep’t of the Interior v. Klamath Water Users

Protective Ass’n, 532 U.S. 1, 8 (2001) (quoting NLRB v. Sears,

Roebuck & Co., 421 U.S. 132, 150 (1975)).        “The deliberative

process privilege rests on the obvious realization that officials

will not communicate candidly among themselves if each remark is

a potential item of discovery and front page news, and its object

is to enhance the quality of agency decisions by protecting open

and frank discussion among those who make them within the

Government.”   Klamath Water Users Protective Ass’n, 532 U.S. at

8-9 (internal quotation marks and citations omitted).           See also

EPA v. Mink, 410 U.S. 73, 87 (1972) ("[I]t would be impossible to

have any frank discussions of legal or policy matters in writing

if all such writings were to be subjected to public scrutiny.")

(internal quotation marks and citation omitted), superseded by

statute in other respects, Pub. L. No. 93-502, 88 Stat. 1561

(1974); Carter v. U.S. Dep't of Commerce, 307 F.3d 1084, 1089

(9th Cir. 2002) ("The purpose of this privilege is to allow

agencies freely to explore possibilities, engage in internal

debates, or play devil's advocate without fear of public

scrutiny.") (internal quotation marks and citation omitted).

     To qualify for the deliberative process privilege, a

document must be (1) “predecisional,” that is, prior to the

adoption of the agency policy, and (2) “deliberative,” that is,

related to the policy-making process.        Texaco P.R., Inc. v. Dep’t

of Consumer Affairs, 60 F.3d 867, 884 (1st Cir. 1995) (quoting

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Nat’l Wildlife Fed’n v. U.S. Forest Serv., 861 F.2d 1114, 1116

(9th Cir. 1988)).    “A predecisional document may be virtually any

document that contains personal opinions and is designed to

assist agency decision-makers in making their decisions.”           Mo.

Coal. for the Env’t Found. v. U.S. Army Corps of Eng’rs, 542 F.3d

1204, 1211 (8th Cir. 2008).      “A document will be considered

‘predecisional’ if the agency can (i) pinpoint the specific

agency decision to which the document correlates, (ii) establish

that its author prepared the document for the purpose of

assisting the agency official charged with making the agency

decision, and (iii) verify that the document precedes, in

temporal sequence, the decision to which it relates.”           Providence

Journal Co. v. U.S. Dep’t of the Army, 981 F.2d 552, 557 (1st

Cir. 1992) (internal quotation marks and citations omitted).            A

document is ‘deliberative’ if it “(i) formed an essential link in

a specified consultative process, (ii) reflect[s] the personal

opinions of the writer rather than the policy of the agency, and

(iii) if released, would inaccurately reflect or prematurely

disclose the views of the agency.”       Id. at 559 (internal

quotation marks and citations omitted).        Put another way, “a

document is ‘predecisional’ if it precedes in time the decision

to which it was applied and it is ‘deliberative’ if it

constitutes a statement of opinion regarding final policy rather

than a description of the ultimate policy itself.” United States

v. Cicilline, No. 07-10008-NMG, 2008 WL 427286, at *1 (D. Mass.

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Feb. 13, 2008).

       The deliberative process privilege does not shield documents

that simply state or explain a decision the Government has

already made, Sears, Roebuck & Co., 421 U.S. at 151-152, or

protect material that is purely factual, unless the material is

so inextricably intertwined with the deliberative sections of

documents that its disclosure would inevitably reveal the

Government’s deliberations.      Providence Journal Co., 981 F.2d at

562.    Even factual material is protected if its disclosure “would

expose an agency’s decisionmaking process in such a way as to

discourage candid discussion within the agency and thereby

undermine the agency’s ability to perform its functions.”           Id. at

562 (quoting Quarles v. Dep’t of Navy, 893 F.2d 390, 392 (D.C.

Cir. 1990)) (internal quotation marks and citation omitted).

       Even if a document is both predecisional and deliberative,

nondisclosure is not automatic.       Texaco P.R., Inc., 60 F.3d at

885.    The privilege “is a qualified one” and “is not absolute.”

Id. (internal citations omitted). In exercising its discretion as

to whether the deliberative process privilege requires

nondisclosure, a court “should consider, among other things, the

interests of the litigants, society’s interest in the accuracy

and integrity of factfinding, and the public’s interest in

honest, effective government.” Id.       The Court must balance the

public interest in the protection of the deliberative process

against the movant’s particularized need for the information as

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evidence in the case before it. See e.g., Comm. for Nuclear

Responsibility, Inc. v. Seaborg, 463 F.2d 788, 791 (D.C. Cir.

1971); Carl Zeiss Stiftung v. V.E.B. Carl Zeiss, Jena, 40 F.R.D.

318, 327 (D.D.C. 1966), aff’d sub nom. V.E.B. Carl Zeiss, Jena v.

Clark, 384 F.2d 979 (D.C. Cir. 1967). To compel disclosure, the

movant must “make a showing of necessity sufficient to outweigh

the adverse effects the production would engender.” Id. at 328-

329.

       Courts consider numerous factors when balancing the

competing interests involved, including:

       (i) the relevance of the evidence sought to be protected;
       (ii) the availability of other evidence; (iii) the
       ‘seriousness’ of the litigation and the issues involved;
       (iv) the role of the government in the litigation; and
       (v) the possibility of future timidity by government
       employees who will be forced to recognize that their
       secrets are violable.

In re Franklin Nat’l Bank Sec. Litig., 478 F. Supp. 577, 583

(E.D.N.Y. 1979).     “While this list does not purport to be an

exhaustive list of factors a court might consider, it is at least

a floor upon which to balance sufficiently the competing

interests of the parties and the federal agency.” In re Bankers

Trust Co., 61 F.3d 465, 472 (6th Cir. 1995).

       In conducting a balancing test, a court should conduct an

individualized review of each piece of evidence “to insure that

the balance between petitioners’ claims of irrelevance and

privilege and plaintiffs’ asserted need for the documents is

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correctly struck.”     Kerr v. U.S. Dist. Court for the N. Dist. of

Cal., 426 U.S. 394, 405 (1976).

     2.   Government Knowledge

     The bone of contention between the parties is whether the

government’s knowledge of spreads is relevant.           The Court had

previously ordered the government to produce documents which

reference Abbott’s drugs, but Abbott insists it is entitled to

documents referencing the government’s knowledge of spreads in

general, and similar multi-source drugs in particular.            Abbott

contends that the Government has waived its right to assert the

deliberative process privilege because the government has put its

knowledge and deliberations at issue by asserting fraud-based

claims.   The United States disagrees, arguing that the privilege

is applicable because government knowledge is not relevant to a

defense of a False Claims Act claim unless the knowledge of those

prices was communicated to Abbott.        Therefore, the first issue

which must be addressed is whether the government’s knowledge or

deliberations are placed at issue when the government asserts an

FCA claim or a fraud-based claim.

     As the complaint alleges, this lawsuit is premised on the

notion that the federal and state governments were misled into

paying “excessive reimbursement” for the Subject Drugs through

the Medicare and Medicaid programs.        The government alleges that

prices for the subject drugs reported in the pricing compendia


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were false, fraudulent, and inflated, and that the Medicare and

Medicaid programs relied upon these prices to set reimbursement

rates for Abbott’s customers.       The government further alleges

that it acted in justifiable reliance upon Abbott’s

misrepresentations, and that it would not have paid for the

products at issue if the true facts of Abbott’s false price

reporting had been known to the United States.

     Abbott contends that the documents and testimony regarding

the Government’s knowledge as to whether published AWP’s equaled

or approximated actual market prices is directly relevant to

whether the government justifiably relied on those prices and

whether the government was misled.        Case law involving the

government knowledge defense under the False Claims Act is

evolving.   As the Court addressed in In re Pharm. Indus. Average

Wholesale Price Litig., 478 F. Supp. 2d 164, 174 (D. Mass. 2007):

     In some circumstances, the government’s ‘knowledge [of
     a fraud] effectively negates the fraud or falsity
     required by the FCA.’ Am. Contract Servs. v. Allied
     Mold & Die, Inc., 94 Cal. App. 4th 854, 864, 114 Cal.
     Rptr. 2d 773 (Cal. Ct. App. 2001). Some courts have
     held that governmental knowledge will vitiate a
     possible FCA claim where ‘the government knows and
     approves of the particulars of a claim for payment
     before that claim is presented.’ United States ex rel.
     Durcholz v. FKW Inc., 189 F.3d 542, 545 (7th Cir. 1999)
     (emphasis added). In these instances, ‘the presenter
     cannot be said to have knowingly presented a fraudulent
     or false claim.’ Id. Thus, there may be ‘occasions when
     the government’s knowledge of or cooperation with a
     contractor’s actions is so extensive that the
     contractor could not as a matter of law possess the
     requisite state of mind to be liable under the FCA.’
     Id.; see also United States ex rel. Hagood v. Sonoma

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     County Water Agency, 929 F.2d 1416, 1421 (9th Cir.
     1991) (holding that knowledge by federal officials may
     ‘show that the defendant did not submit its claim in
     deliberate ignorance or reckless disregard of the
     truth’). However, government knowledge is not an
     automatic bar to suit under the FCA. United States ex
     rel Butler v. Hughes Helicopters, Inc., 71 F.3d 321,
     327 (9th Cir. 1995); Shaw v. AAA Eng’g & Drafting,
     Inc., 213 F.3d 519, 534-35 (10th Cir. 2000).

Therefore, “courts have had to decide case by case whether a FCA

claim based on information in the government’s possession can

succeed.”   Butler, 71 F.3d at 326.

     Government knowledge could conceivably be relevant to two

elements of the False Claims Act: the falsity of the claim and

the defendant’s state of mind.       As to falsity, “there appears to

be an emerging consensus (not without significant authority to

the contrary) that it is not negated by government knowledge.”                1

John T. Boese, Civil False Claims and Qui Tam Actions § 2.03[F]

(3d ed. 2008).    The Ninth Circuit has stated that “what

constitutes the offense is not intent to deceive but knowing

presentation of a claim that is either ‘fraudulent’ or simply

‘false’. . . .    That the relevant government officials know of

the falsity is not in itself a defense.”         Hagood, 929 F.2d at

1421.   Numerous other courts have concurred.         See United States

ex rel. Kreindler & Kreindler v. United Techs. Corp., 985 F.2d

1148, 1156 (2d Cir. 1993); United States ex rel. Becker v.

Westinghouse Savannah River Co., 305 F.3d 284, 289 (4th Cir.

2002); Tyger Constr. Co. v. United States, 28 Fed. Cl. 35, 60

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(Fed. Cl. 1993); United States ex rel. Mayman v. Martin Marietta

Corp., 894 F. Supp. 218, 223 (D. Md. 1995).

     Even those cases that have found government knowledge to

negate the element of falsity have required that the government

possess knowledge of the actual true facts of the claim, not

simply knowledge that the claim is generally false; some have

further required that the government actually approve of those

true facts.    For instance, the Seventh Circuit found “the

government’s knowledge effectively negates the fraud or falsity

required by the FCA” where “the government knows and approves of

the particulars of a claim for payment before that claim is

presented. . . .”     Durcholz, 189 F.3d at 545 (emphasis added).

That is, there can be no falsity where “[t]he government knew

what it wanted, and. . . got what it paid for.”           Id.   Further,

these cases also seem to rely on the fact that the government

approves of the false claim, finding no falsity only where it is

alleged that “the government was defrauded by the very activities

its agents ordered” and that the defendant somehow “defraud[ed]

the government by following the government’s explicit

directions.”    Id.

     Similarly, while some courts have found that government

knowledge can prevent the defendant from forming the requisite

state of mind (knowing that the claim is false or fraudulent),

they have done so only where the government’s knowledge as to the


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true facts is extensive and in some cases where the government

has actively approved of the underlying facts.           According to the

Tenth Circuit, “there may. . . be occasions when the government’s

knowledge of or cooperation with a [defendant’s] actions is so

extensive that the [defendant] could not as a matter of law

possess the requisite state of mind to be liable under the FCA.”

Shaw, 213 F.3d at 534.      Likewise, the Fourth Circuit held that

“the government’s knowledge of the facts underlying an allegedly

false record or statement can negate the scienter required for an

FCA violation”; specifically, that the government’s “full

knowledge of the material facts underlying [a defendant’s

representations]. . . negates any knowledge that [the defendant]

had regarding the truth or falsity of those representations.”

Becker, 305 F.3d at 289.      For instance, where the defendant and

the government “so completely cooperated and shared all

information,” claims could not be knowingly false.           Butler, 71

F.3d at 327.

     As one court put it, a defendant’s “disclosure. . . to the

government is relevant, not because government knowledge of a

misrepresentation shields a [defendant] from liability, but

because evidence of disclosure may ‘point[] persuasively away

from any conclusion that [the defendant] made a knowing

misrepresentation.’     In other words, disclosure. . . may

establish that the defendant did not ‘knowingly’ submit false


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claims. . . .”    United States v. Newport News Shipbuilding Inc.,

276 F. Supp. 2d 539, 564 (E.D. Va. 2003).          That “the government

knew of [the defendant’s] mistakes and limitations, and that [the

defendant] was open with the government about them, suggests

that. . . [the defendant] was not cheating the government. . . .”

Wang v. FMC Corp., 975 F.2d 1412, 1421 (9th Cir. 1992).

     The government’s argument is thus premature.           Although the

government knowledge defense may not ultimately prevail, Abbott

has the right during discovery to see documents reflecting the

government’s knowledge about spreads in order to mount the

defense.    The government has conceded that at some point it knew

about a 25 percent spread, sometimes called a yardstick, and will

not be asserting damages from any price inflation in this narrow

range.   However, this concession does not mean that Abbott is not

entitled to peruse documents reflecting the extent of the

government’s knowledge that AWPs did not reflect actual

acquisition costs.     While knowledge of a small spread certainly

does not equate with approval of the mega-spreads here, Abbott

has the need to see what the government knew about spreads and

when it knew it in order to see if a government knowledge defense

will fly.   Moreover, the government has asserted a common law

fraud claim so Abbott has the right to explore reasonable

reliance.   See Dep’t of Econ. Dev. v. Arthur Anderson & Co., 139

F.R.D. 295, 299 (S.D.N.Y. 1991) (holding that the assertion of


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claims of fraud “necessarily places at issue questions of

knowledge, justifiable reliance and causation.”)

     The government also contends that the defendant has had

extensive depositions on the issue of government knowledge and

therefore has no need of these documents.          Abbott denies this and

states that the government curtailed the deposition testimony of

witnesses, many of whom had hazy memories.          However, with respect

to the documents submitted, it is difficult on this record for

the Court to match up each document with prior discovery to see

if the issue has been adequately vetted.

     3.   Individualized Review of Documents2

     With the above standard and disputes in mind, based on a

review of the documents, I make the following findings.




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      The Norwalk affidavit does not expressly discuss any of
these documents.

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   Tab 1(A): Briefing Material - Physician Fee Schedule
   (Dated September 5, 1991)


   The cover memorandum (HHD 816-001) is not privileged
   because it is not deliberative. The following pages
   are privileged in that they are predecisional and
   deliberative (HD 816-002 to 0021; HHD 816-0022 to
   0024). Because they are largely irrelevant to the
   issues in this litigation, defendant has no need for
   the documents.

   The section entitled “Payment for Drugs” (HHD 816-0021)
   is pre-decisional and deliberative because it precedes,
   and discusses alternatives to, the proposed final
   regulation. However, Defendant’s need for the
   information which reflects the government’s knowledge
   of the inaccuracy of the AWPs outweighs the
   government’s interests in frank discussion. As these
   deliberations happened 17 years ago, it is hard to
   imagine that disclosure will chill future timid
   government employees.


   Tab 1(B): Draft Final Rule: Fee Schedule for Physicians’
   Services -- CONCURRENCE WITH COMMENTS
   (Dated October 25, 1991)

   The Memorandum from the Principal Deputy Inspector
   General to the Executive Secretariat (document HHD 816-
   0025 to 0027) is protected by the deliberative process
   privilege, but Abbott’s need for the documents
   outweighs the government’s interest in non-disclosure
   because it discusses in 1991 the deficiencies in using
   AWP, particularly for multiple source drugs.

   Tab 1(C): Draft Final Rule: Fee Schedule for Physicians’
   Services – COMMENTS (Dated November 7, 1991)

   For the reasons stated above, the document is protected
   by the deliberative process privilege but defendant’s
   need outweighs the government’s interest.

   Tab 2(A): Medicare Payments for Drugs Using Department of

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   Justice Data - INFORMATION

   This document created in 2000 is not fully protected by
   the deliberative process privilege because it appears
   to be primarily factual, not deliberative. It seems to
   discuss a decision that had already been made by the
   Secretary. The government contends that the material
   relates to the proposal to allow Medicare carriers to
   use pricing information obtained by the Department of
   Justice when determining payout amounts for certain
   drugs. Assuming it is deliberative and pre-decisional,
   defendant’s litigation need for the information
   regarding when the government had knowledge of the
   spreads in inhalation drugs outweighs the government’s
   interest. However, the earlier draft (HHD 809-0014 to
   0015) need not be produced.

   Tab 2(B): Marked up Letter to the Honorable Tom Bliley

   The marked-up drafts are privileged, and defendant’s
   need for the draft documents does not outweigh the
   government’s interest.

   Tab 2(C): Short Term Options for the Average Wholesale Price
   (AWP) Proposed Regulation(Dated April 30, 2003)

   As the heading of the document demonstrates, the
   documents are covered by the deliberative process
   privilege. They are irrelevant because they were
   created after the claims period which runs only through
   2001. Accordingly, defendant’s need for the documents
   does not outweigh the government’s interest.

   Tab 2(D): AWP - Adjusting Reimbursement Through in
   Market Pricing (Dated January 9, 2003)

   This document is protected by the deliberative process
   privilege and is irrelevant because it post-dates the
   dispute in this litigation. It need not be produced.

   Tab 2(E): Practice Expenses for Chemotherapy (Dated
   May 5, 1998)



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   This document is privileged because it proposes an
   alternative preamble for a proposed regulation.
   However, defendant’s need outweighs the government’s
   interest because it demonstrates knowledge that drug
   reimbursements to doctors were higher than actual drug
   costs.

   Tab 2(F): ABC Expose on Nebulizer Drugs (Dated April 22,
    1998)

   The document is not privileged because it is neither
   pre-decisional nor deliberative.

   Tab 3(A): OIG Reports on Medicare and Medicaid Pricing
   of Prescription Drugs - BRIEFING (Dated December 7, 2001)

   The document from the Inspector General to the Deputy
   Secretary is not privileged because it is neither pre-
   decisional nor deliberative, but rather a survey of
   reports of the Inspector General.

   Tab 3(B): Office of Inspector General (OIG) Draft
   Report: Medicaid Pharmacy - Actual Acquisition
   Cost of Generic Prescription Drug Products (A-06-01-00053)

   The government asserts that the document is a draft
   memo from the CMS administrator to the Inspector
   General relating to a 2001 OIG draft report.
   Defendant’s interests are outweighed by the
   government’s interest because government says the same
   information is contained in the final draft of the
   memorandum, which was produced.




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     Tab 4: Cigna Cover Memo; BPD Memo on Nebulizer Drugs (Dated
     February 12-13, 1995)

     The document was prepared by a medical director
     employed by a carrier (Cigna), not CMS. It is not
     privileged because it does not reflect an internal
     agency deliberation. Even if a carrier’s
     communications to the agency were privileged,
     defendant’s need outweighs any governmental interest
     because it informs the government of mega-spreads for
     nebulizer drugs in 1995.
                              ORDER
     The government shall produce documents as provided above in

this opinion.

                                          S/PATTI B. SARIS
                                          United States District Judge




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